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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
Gabriel Rodriguez, individually and on
behalf of all others similarly situated,

                                   Plaintiff,                INITIAL CONFERENCE
                                                             ORDER

                          -against-                          2:22-cv-02436 (GRB) (JMW)


Williams-Sonoma, Inc.,

                                    Defendants.
---------------------------------------------------------X

WICKS, Magistrate Judge:

       Initial Conference Date: June 30, 2022, at 1:00 pm via the Court's Video Zoom. The
Court will email the Zoom invitation closer to the conference date. Parties should confer prior to
the conference and discuss the proposed discovery plan worksheet.

       The above-captioned case has been referred to United States Magistrate Judge James M.
Wicks for purposes of scheduling discovery, resolution of discovery disputes, settlement
conferences and any other purposes set forth at 28 U.S.C. § 636(b)(1)(A). Lead counsel and/or
pro se parties must be present for an initial conference at the date and time indicated above.
Counsel and/or pro se parties are expected to be familiar with the Federal Rules of Civil
Procedure concerning discovery, see generally Fed. R. Civ. P. Rules 16 & 26-37, and the
Individual Rules of the undersigned, which are attached to this Order.

       Prior to this conference, the parties, with limited exceptions, must hold a discovery
planning conference pursuant to Fed. R. Civ. P. Rule 26(f), must provide automatic
disclosure pursuant to Rule 26(a)(1) unless this proceeding is exempted from such
disclosure pursuant to Rule 26(a)(1)(E), and must file a proposed discovery plan consistent
with the factors set forth in Rule 26(f)(1)-(4). Proposed Discovery Worksheet attached to
this Order.

       The proposed discovery plan, which must be electronically filed under “Other
Documents” as a “Proposed Scheduling Order” no later than June 23, 2022, to the conference,
should reflect the general rule that discovery is to be completed within six to nine months of the
date of the initial conference, and should include any agreements the parties have reached
regarding discovery, including electronic discovery, as appropriate. It should also include
proposed deadlines for the service of and response to written discovery, completion of
depositions, motions to amend pleadings including joinder of additional parties, all expert
discovery (including identification of experts and rebuttal experts and disclosure of expert
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reports), completion of all discovery, filing of dispositive motions, and a pre-trial order/trial-
ready date.

Dated: Central Islip, New York                      SO ORDERED:
       May 25, 2022
                                                     /s/ James M. Wicks
                                                    JAMES M. WICKS
                                                    United States Magistrate Judge
